Filed 8/27/24 Glenn v. The President and Trustees of Santa Clara College CA6
                      NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


                  IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                      SIXTH APPELLATE DISTRICT

 HARLOW GLENN et al.,                                                H050735
                                                                     (Santa Clara County
             Plaintiffs and Appellants,                              Super. Ct. No. 22CV395570)

             v.

 THE PRESIDENT AND TRUSTEES OF
 SANTA CLARA COLLEGE et al.,

             Defendants and Respondents,


         Plaintiffs are two individuals and a non-profit association challenging the COVID-
19 vaccination policies of Santa Clara University and the actions of two of its employees
in connection with enforcing those policies. Plaintiffs asserted 16 causes of action
alleging numerous statutory, constitutional and common law violations. The trial court
sustained the university’s demurrer as to all causes of action without leave to amend, on
various grounds.
         We affirm.
                              I. FACTUAL AND PROCEDURAL BACKGROUND1
         A. The university’s COVID-19 vaccine policies
         In late July 2021, the university announced a COVID-19 vaccine requirement for
students attending classes or living in residential housing for the 2021–2022 academic

         1
         We take our facts from those properly pleaded in the operative complaint and
matters properly judicially noticed. (County of Santa Clara v. Superior Court (2023) 87
Cal.App.5th 347, 355, fn. 2.) The trial court here granted the university’s request for
judicial notice of its 2021–2022 Student Handbook.
year, with a deadline of September 1, 2021. The university subsequently announced a
second vaccine requirement during winter break of 2021, mandating that students receive
a COVID-19 vaccine booster shot to continue with their education for the spring 2022
term. The university indicated that it would not accept religious exemption requests for
students, and would only grant limited medical exemptions. The university imposed the
mandates on students who attended classes remotely as well as in-person. Plaintiffs
allege that the university imposed the mandates “largely in exchange for millions of
dollars in federal [funding].”
       B. Plaintiffs’ requests for exemptions
              1. Harlow Glenn
       Plaintiff Harlow Glenn was a 20-year-old sophomore at the university at the time
this action was commenced in March 2022. Glenn had requested a religious exemption
from the university on August 23, 2021, but was denied. She alleges that defendant
Deepra Arora, senior director of communications and media relations at the university,
also “threatened Ms. Glenn repeatedly through emails and calls about her loss of housing,
classes, and other benefits of being an in-person student at [the university] unless Ms.
Glenn submitted to the [mandate].”
       As a result, Glenn alleges, she took the first dose of the Pfizer COVID-19 vaccine
under duress, immediately suffering severe adverse effects, including numbing in her legs
and partial paralysis, and was taken to the emergency room for treatment. She then
suffered months of severe headaches, menstrual cycle dysfunction, bleeding during
urination, hair loss, severe anxiety, overall body pain, and general malaise, many of
which continue to affect her. She also contracted “an intense bout of COVID-19” soon
after receiving the vaccine.
       Glenn then submitted a doctor’s note to the university and requested a medical
exemption from taking another dose of the vaccine. Glenn alleges that defendant Lewis
Osofsky, a campus physician and healthcare provider, interfered with her patient-doctor

                                             2
relationship by contacting her two treating physicians and pressuring them to retract their
support for her requested medical exemption. According to Glenn, Osofsky’s stated
reason for interfering was that he did not personally believe Glenn’s adverse effects were
severe enough to warrant an exemption because she had not required hospitalization.
       Glenn then requested a second medical exemption, but the university rejected that
as well, and informed her she would be unable to attend the university or complete her
spring semester if she did not submit to another two doses of a COVID-19 vaccine.2
       2. Lyle Kosinski
       Kosinski was a 30-year-old mechanical engineering master’s student in robotics
and mechatronics systems at the time the operative complaint was filed. He sought
medical, religious and personal exemptions to the university’s vaccine mandate, but was
denied. As a result, Kosinski was disenrolled from the university before the fall 2021
quarter. At that time, Kosinski had completed 13 of the 18 classes required for
graduation in the robotics program. He then sought permission from the university to
complete his remaining classes at San Jose State University, which was allowing
religious exemptions to their COVID-19 vaccine requirement. However, the university
denied his request. It also then revised its university-wide transfer credit policy to
prevent unvaccinated students from transferring to, or completing credits at another
institution that did not mandate a COVID-19 vaccine or that provided exemptions.
       In May 2022, Kosinski submitted a new medical exemption request signed by his
personal physician, which the university also denied. At some point later—the operative
complaint does not specify when—Osofsky “changed his mind” and said he would



       2
         Glenn alleges that after the initial complaint was filed in this action in March
2022, the university purportedly granted her third request for a medical exemption on
March 28, 2022, but that on June 2 and 3, 2022, the university sent her two e-mails
indicating that she needed to submit to additional doses of a COVID-19 vaccine or face
disenrollment.

                                              3
support Kosinski’s request for a medical exemption; however, at the time of filing,
Kosinski had not yet received it or been re-enrolled at the university.
       C. Procedural background
       On March 14, 2022, the initial complaint in this action was filed by Glenn, another
university student named Jackson Druker, and the Children’s Health Defense – California
Chapter (CHD-CA). CHD-CA, a 501(c)(3) nonprofit corporation, is the California
branch of the Children’s Health Defense, and has over 7,000 members throughout
California “consisting primarily of parents whose children have been negatively impacted
by environmental and chemical exposures, including unsafe vaccines.” The complaint
was filed against the president and trustees of Santa Clara College (the university),
Osofsky and Arora (defendants).
       Defendants demurred to the initial complaint on April 14, 2022. In response,
plaintiffs amended their complaint. The operative first amended complaint was filed
against defendants on June 27, 2022 (FAC) by CHD-CA, Glenn and Kosinski
(plaintiffs).3 Druker was dismissed from the action before the FAC was filed.
              1. FAC
       The FAC alleged 16 distinct causes of action: (1) declaratory relief—state actor
(42 U.S.C. § 1983); (2) violation of the Fourteenth Amendment—Substantive Due
Process; (3) violation of the Fourteenth Amendment—Equal Protection; (4) violation of
the First Amendment—Free Exercise Clause; (5) violation of California Constitution—
Free Exercise of Religion; (6) violation of California Constitution—Right to Privacy;
(7) violation of California Constitution—Equal Protection; (8) violation of 21 U.S.C.
§ 360bbb-3, the Food, Drug and Cosmetic Act (FDCA); (9) violation of the Protection of
Human Subjects in Medical Experimentation Act, Health &amp; Safety Code § 24170;
(10) violation of Unruh Act and Bane Civil Rights Act; (11) breach of implied covenant

       3
         Prior to filing the FAC, the plaintiffs in the action at the time twice sought
injunctive relief against the university’s vaccine policy, which the trial court denied.

                                              4
of good faith and fair dealing (brought by Glenn and Kosinski against the university);
(12) breach of contract (brought by Glenn and Kosinski against the university);
(13) negligence (brought by Glenn and Kosinski against all defendants); (14) intentional
infliction of emotional distress (brought by Glenn and Kosinski against all defendants);
(15) tortious interference with contractual relationship (brought by Kosinski against
Osofsky); and (16) conspiracy to induce breach of contract (brought by Glenn and
Kosinski against all defendants).
       Plaintiffs sought declaratory relief, an injunction preventing the university from
enforcing its vaccine mandate, including any additional booster dose requirement in the
future, and damages awarded to Glenn and Kosinski.
              2. Demurrer
       Defendants demurred to the FAC on July 28, 2022. They argued that plaintiffs
lacked standing to bring their claims for declaratory and injunctive relief because Glenn
and Kosinski had received medical exemptions from the university and were thereby in
compliance with the vaccine policy, so they faced no prospective injury from its
continued enforcement, and because CHD-CA is not subject to the policy and had alleged
no direct harm from its enforcement as to any specified member.
       In addition, defendants argued: (1) the constitutional causes of action (causes 1–5
and 7) fail because defendants are a private university and its employees, not state actors;
(2) the right to privacy cause of action (cause 6) fails because requiring immunizations
does not raise a constitutional issue; (3) the FDCA cause of action (cause 8) fails because
the statute does not provide a private cause of action; (4) the Health and Safety Code,
Unruh Act, and Bane Act causes of action (causes 9 and 10) fail because: (i) the COVID-
19 vaccine cannot credibly be characterized as a “medical experiment,” and the
university neither forced nor administered it, (ii) the vaccine mandate, which applies
equally to all students, furthers a goal of maintaining the health of the campus community
and in no way discriminates against anyone; and (iii) plaintiffs have not alleged any

                                             5
constitutional or statutory violations, as required to demonstrate a Bane Act claim; (5) the
contract-based causes of action (causes 11 and 12) fail because, under the alleged
contracts, the university was authorized to implement and enforce the mandate; and (6)
the tort claims (causes 13–16) fail because they did not allege (i) that the university acted
“unreasonably” by implementing the mandate; (ii) that defendants acted in an “extreme
and outrageous” manner regarding Glenn’s medical exemption request or Kosinski’s
initial non-compliance with the mandate; or (iii) that defendants had tortiously
“interfered” with any relationships between students and their doctors.
              3. Trial court ruling
       The trial court sustained the demurrer without leave to amend on September 22,
2022. It held that Glenn and Kosinski lacked standing to bring their claims for
declaratory and injunctive relief because they had received medical exemptions from the
university’s vaccine mandate and therefore faced no prospective harm from its
enforcement. Although the FAC did not allege that Glenn and Kosinski had received
medical exemptions, the trial court noted that plaintiffs had conceded that fact in their
opposition to defendants’ demurrer. With respect to CHD-CA, the trial court held that
the FAC had not identified any individual members with standing, so it could not assert
claims for declaratory and injunctive relief either.
       The trial court also held that plaintiffs’ constitutional claims set forth in the first
through fifth, and seventh causes of action, fail to state claims sufficient to constitute
causes of action because defendants are not “state actors,” but rather are a private
university and its employees.
       In addition, the court held that, under well-settled law, where a challenged action
primarily concerns health and safety, no fundamental privacy right is at stake and there is
a presumption of constitutional validity. Moreover, even if a legally protected privacy
right were implicated, the trial court was “not persuaded” that the university’s vaccine
mandate constituted an unconstitutional, serious invasion of that right because

                                               6
defendants’ interest in promoting the health of its students defeats any privacy-based
objection plaintiffs might have, thereby defeating the sixth cause of action.
       With respect to the seventh cause of action for violation of the FDCA, the trial
court relied on federal law holding that no private right of action exists under the statute.
For that reason, plaintiffs cannot state a claim for violation of that statute.
       The ninth cause of action for violation of Health and Safety Code section 24170
failed to state a claim, the trial court held, because plaintiffs conceded defendants did not
administer the vaccine, and the FAC does not allege facts showing the vaccine constitutes
a “medical experiment” under the statute or that it was coerced upon them.
        Similarly, the trial court held that the 10th cause of action for violation of the
Unruh Act and the Bane Act—which generally bar discrimination on the basis of
protected characteristics in places of public accommodation and businesses—failed to
state a claim for relief because it did not allege facts showing that defendants engaged in
intentional discrimination and willful, affirmative misconduct. Instead, the university’s
vaccine mandate applies equally to all students and is therefore not actionable under the
Unruh Act. In addition, plaintiffs had not identified a protected characteristic
discriminated against by the policy.
       With respect to the 11th and 12th causes of action for breach of contract and
breach of the implied covenant of good faith and fair dealing, Glenn and Kosinski alleged
that the university had breached the terms of enrollment and the financial terms and
conditions set forth in the student handbook by implementing and enforcing the vaccine
mandate. The trial court held that these causes of action failed to allege any breach
because the contracts themselves provide that the university may “modify its services or
change its programs at any time,” which “logically includes placing conditions on who
may attend class based on reasonable health and safety concerns and policies directed at
ensuring the wellbeing of the [university] community.”



                                               7
       Similarly, with respect to the 13th cause of action for negligence, the trial court
held that the FAC did not adequately plead breach of duty. Specifically, plaintiffs’
“vague allegations regarding the purported unreasonableness of the [vaccine policy] are
insufficient to establish the requisite breach.”
       In the 14th cause of action, Glenn and Kosinski alleged that defendants
intentionally caused them emotional distress and that Osofsky engaged in “extreme and
outrageous behavior” by actively attempting to get Glenn’s physicians to retract medical
exemptions previously submitted for her and “attempting to impugn and intimidate”
Kosinski from again seeking a medical exemption from the vaccine policy. The trial
court held that this cause of action failed to plead defendants had engaged in conduct that
qualifies as “extreme and outrageous,” because implementing and enforcing a vaccine
mandate recommended by leading public health authorities “and attempting to ascertain
the basis of Glenn and Kosinski’s medical exemption requests are not acts that are
‘so extreme as to exceed all bounds of that usually tolerated in a civilized community.’ ”
In addition, the court held, the FAC did not plead any facts establishing that Glenn and
Kosinski experienced “severe emotional distress” as a result of defendants’ conduct.
       Finally, in the 15th and 16th causes of action, Glenn alleged that Osofsky
tortiously interfered with her private contractual relationships with her treating
physicians, while she and Kosinski alleged that defendants conspired to interfere with the
private physician-patient relationships of university students to implement and enforce
the vaccine mandate. The trial court held that plaintiffs failed to plead how the purported
contracts with her physicians were breached and that, absent an underlying breach, there
can be no legally prohibited conspiracy.
       The trial court sustained the demurrer as to all causes of action without leave to
amend.
       A judgment of dismissal was entered on November 2, 2022. Plaintiffs timely
appealed.

                                               8
                                        II. DISCUSSION
       A. Standard of review
       We review de novo a judgment of dismissal based on a sustained demurrer.
(Organizacion Comunidad de Alviso v. City of San Jose (2021) 60 Cal.App.5th 783, 790.)
If the allegations of the operative pleading state a cause of action under any legal theory,
we will reverse. (Ibid.) In applying this standard, we assume the truth of all facts alleged
in the complaint, but do not consider conclusory factual or legal allegations. (B &amp; P
Development Corp. v. City of Saratoga (1986) 185 Cal.App.3d 949, 953.) “The plaintiff
has the burden of showing that the facts pleaded are sufficient to establish every element
of the cause of action and overcoming all of the legal grounds on which the trial court
sustained the demurrer.” (Martin v. Bridgeport Community Assn., Inc. (2009) 173
Cal.App.4th 1024, 1031.)
       When a demurrer is sustained without leave to amend, “we decide whether there is
a reasonable possibility that the defect can be cured by amendment: if it can be, the trial
court has abused its discretion and we reverse; if not, there has been no abuse of
discretion and we affirm. [Citations.]” (Blank v. Kirwan (1985) 39 Cal.3d 311, 318
(Blank).) Nevertheless, the burden remains on the plaintiff to show a reasonable
possibility of curing a defect. (Schifando v. City of Los Angeles (2003) 31 Cal.4th 1074,
1081 (Schifando).)
       B. Analysis
              1. Standing
       To state a valid cause of action, a complaint must adequately allege every element
of the cause of action, as well as the plaintiff’s standing to sue. (Schaeffer v. Califia
Farms, LLC (2020) 44 Cal.App.5th 1125, 1134, citing Rossberg v. Bank of America, N.A.
(2013) 219 Cal.App.4th 1481, 1490–1491; Peterson v. Cellco Partnership (2008) 164
Cal.App.4th 1583, 1589.)



                                              9
        “ ‘ “To have standing, a party must be beneficially interested in the controversy;
that is, he or she must have ‘some special interest to be served or some particular right to
be preserved or protected over and above the interest held in common with the public at
large.’ [Citation.] The party must be able to demonstrate that he or she has some such
beneficial interest that is concrete and actual, and not conjectural or hypothetical.” ’
[Citation.] This standard ‘is equivalent to the federal “injury in fact” test ....’ [Citation.]
‘ “ ‘Without standing, there is no actual or justiciable controversy, and courts will not
entertain such cases.’ ” ’ [Citation.]” (Dominguez v. Bonta (2002) 87 Cal.App.5th 389,
413.)
        For declaratory relief, “ ‘an actual controversy that is currently active is required
for such relief to be issued, and both standing and ripeness are appropriate criteria in that
determination. [Citation.]’ ” (D. Cummins Corp. v. United States Fidelity &amp; Guaranty
Co. (2016) 246 Cal.App.4th 1484, 1489 (D. Cummins), quoting Otay Land Co. v. Royal
Indemnity Co. (2008) 169 Cal.App.4th 556, 562 (Otay Land Co.).) “ ‘One cannot analyze
requested declaratory relief without evaluating the nature of the rights and duties that the
plaintiff is asserting, which must follow some recognized or cognizable legal theories that
are related to subjects and requests for relief that are properly before the court.’ ” (D.
Cummins, supra, 246 Cal.App.4th at p. 1489, quoting Otay Land Co., supra, 169
Cal.App.4th at p. 562; see also, Gafcon, Inc. v. Ponsor &amp; Associates (2002) 98
Cal.App.4th 1388, 1403 [declaratory relief operates prospectively, not for the redress of
past wrongs].)
        Similarly, “injunctive relief lies only to prevent threatened injury and has no
application to wrongs that have been completed.” (Scripps Health v. Marin (1999) 72
Cal.App.4th 324, 332.) “It should neither serve as punishment for past acts, nor be
exercised in the absence of any evidence establishing the reasonable probability the acts
will be repeated in the future.” (Id., citing Cisneros v. U.D. Registry, Inc. (1995) 39
Cal.App.4th 548, 574.)

                                               10
                 a. Glenn and Kosinski
       Plaintiffs argue that they properly alleged individual and associational standing for
the causes of action seeking declaratory and injunctive relief. With respect to the
individual plaintiffs, they contend the trial court improperly accepted defendants’
assertion in their demurrer that Glenn and Kosinski had received medical exemptions and
therefore were in compliance with the university’s vaccine policy and “thus face no
prospective injury from continued enforcement of it.”
       According to plaintiffs, though, the FAC itself does not allege the facts defendants
asserted in their demurrer. Instead, the FAC only alleges the university had continued to
demand that Glenn get further booster doses despite granting her “some type of
temporary exemption in March 2022,” and the university had not yet granted Kosinski
any medical exemption or re-enrolled him. Nor had either student been granted an
exemption that would allow them to avoid any further booster requirements that the
university might impose in the future. For that reason, plaintiffs argue, they were still
affected by the university’s vaccine policy.
       In their opposition to the demurrer, though, plaintiffs stated: “It is not surprising
that Defendants have now granted the named Plaintiffs in this action ‘permanent’ medical
exemptions after numerous denials, only after this litigation commenced, and only to
immediately use these belatedly granted exemptions to claim Plaintiffs now lack standing
to continue this lawsuit. However, Plaintiffs Glenn and Kosinski have already suffered
numerous harms because of Defendants’ outrageous actions to enforce their Mandate,
and thus have standing to sue on all of their claims for damages.”
       A court may treat a party’s admissions in a brief as contradicting allegations in a
complaint. (See, e.g., Artal v. Allen (2003) 111 Cal.App.4th 273, 274, fn. 2 [“ ‘While
briefs and argument are outside the record, they are reliable indications of a party’s
position on the facts as well as the law, and a reviewing court may make use of
statements therein as admissions against the party. [Citations.]’ ”]; Mangini v. Aerojet-

                                               11
General Corp. (1996) 12 Cal.4th 1087, 1097–1098 [concessions in party’s brief may be
taken as admissions against the party].) In addition, a court may reject allegations that
are contradicted by judicially noticed facts. (Cansino v. Bank of America (2014) 224
Cal.App.4th 1462, 1474.)
       The trial court here treated plaintiffs’ concession in their opposition to the
demurrer as an admission contradicting the allegations in the FAC. It therefore declined
to grant defendants’ request for judicial notice of documents purportedly showing
plaintiffs’ compliance with the university’s vaccine mandate. On appeal, plaintiffs argue
that their statement in the opposition to demurrer did not admit that exemptions had
actually been granted, but instead only repeated and quoted defendants’ own claims.
However, the trial court did not construe the statement in that manner—nor do we.
Notably, in their opening brief on appeal, plaintiffs did not address their statement in the
opposition to the demurrer, or object to the trial court’s treatment of it as a concession;
instead, they argued only that the allegations in the FAC must be accepted as true,
notwithstanding any statements to the contrary in their opposition to the demurrer. Only
in their reply brief did they object for the first time to the trial court’s treatment of their
statement.
       Because plaintiffs conceded that they have received medical exemptions, and are
therefore in compliance with the university’s vaccine mandate, they lack standing to
bring their causes of action seeking declaratory or injunctive relief.
                  b. CHD-CA
       Plaintiffs argue that CHD-CA has associational standing. Under that rule, “even
in the absence of injury to itself, ‘an association has standing to bring suit on behalf of its
members when: (a) its members would otherwise have standing to sue in their own right;
(b) the interests it seeks to protect are germane to the organization’s purpose; and (c)
neither the claim asserted nor the relief requested requires the participation of individual
members in the lawsuit.’ ” (United Farmers Agents Association, Inc. v. Farmers Group,

                                               12
Inc. (2019) 32 Cal.App.5th 478, 488 (United Farmers), quoting Hunt v. Washington
Apple Advertising Comm'n (1977) 432 U.S. 333, 343 (Hunt).)
       “The doctrine of associational standing ‘was developed in the federal courts under
the “case or controversy” requirement of article III of the United States Constitution.’
[Citations.] Nonetheless, California courts have applied the doctrine, including the three
Hunt requirements. [Citation.] (United Farmers, supra, 32 Cal.App.5th at p. 488.)
       Plaintiffs argue that they adequately alleged CHD-CA’s associational standing
because the FAC alleged that “CHD-CA has members who are students attending [the
university] themselves, including but not limited to Plaintiff Glenn and Plaintiff Kosinski,
as well as parents of students attending SCU who have not submitted to all or part of the
Mandate and do not intend to submit to the Mandate, including any additional booster
dose requirements.”
       Plaintiffs argue that the trial court incorrectly held that CHD-CA did not have
standing “because no individual member of the association has been identified by name.”
According to plaintiffs, the Hunt requirements set forth above do not include identifying
an individual member by name.
       However, as a factual matter, the trial court did not actually hold that an
association must identify a member by name to establish standing. Instead, it held that
“the identification of individual members in an association with standing to maintain
claims is required in order to establish that the association has the requisite standing to
maintain the claim on those members’ [behalf].” That is consistent with the first element
in Hunt that an association has standing to bring suit on behalf of its members when its
members would otherwise have standing to sue in their own right.
       In any case, we review the trial court’s ruling, not its reasoning or rationale. (J.B.
Aguerre, Inc. v. American Guarantee &amp; Liability Insurance Co. (1997) 59 Cal.App.4th 6,
15.) The FAC here alleged only that CHD-CA has members who are students attending
the university who have not submitted to the university’s vaccine mandate. That is

                                              13
insufficient to establish that those members themselves would have standing to sue in
their own right. The FAC does not allege any actual facts regarding how those students
have been harmed by the university’s vaccine mandate including, for example, whether
they have been denied exemptions or been disenrolled from the university. Those
conclusory allegations are insufficient to survive demurrer. (Curcini v. County of
Alameda (2008) 164 Cal.App.4th 629, 650.)
       Because plaintiffs lack standing to assert their claims for declaratory or injunctive
relief, the demurrer was properly sustained as to the first through eighth causes of action,
which exclusively seek such relief.4
              2. Constitutional causes of action – state actor
       As set forth above, the trial court held that plaintiffs’ constitutional causes of
action failed to state claims sufficient to constitute causes of action because defendants
are not “ ‘state actors.’ ” Plaintiffs argue that the trial court erred because that finding
requires a factual inquiry and cannot be made as a matter of law. They contend the FAC
adequately alleged that the university acted as a “state actor” by colluding with Santa
Clara County, the State, and the federal government, in a coordinated effort to administer
COVID-19 vaccines to as many students as possible to receive millions in COVID relief
funding and advance a vaccination agenda that the government could not legally impose
on its own.
       Plaintiffs argue the trial court erred because the FAC adequately alleges that they
have a legally protected privacy interest and an objectively reasonable expectation of
privacy under the circumstances, and that the university’s conduct constituted a serious
invasion of their privacy.


       4
         Prior to oral argument, counsel for defendants notified the court by letter that, as
of April 2, 2024, the university’s COVID-19 vaccination policy no longer requires that
students be vaccinated. The university did not request that the court take judicial notice
of any such policy change, which therefore is not in the record.

                                              14
       We need not reach this issue because we hold that plaintiffs lack standing to bring
this cause of action and the demurrer was properly sustained on that basis.
               3. FDCA
       The eighth cause of action alleges that the relevant portion of the FDCA—21
U.S.C. § 360bbb-3 (e)(1)(A)(ii)—imposes certain conditions on the dissemination of
products that have received emergency use authorization (EAU), ensuring that
individuals to whom the product is administered are informed of, among other things, the
option to accept or refuse administration of the product. It further alleges that defendants
violated that statute by failing to provide university students the option to refuse the
vaccines and boosters.
       The trial court sustained the demurrer as to this cause of action based on federal
law holding that no private right of action exists under the statute. Plaintiffs argue that
the statute contains an implied private right of action, and distinguish the authority the
trial court cited.
       We need not reach this issue because we hold that plaintiffs lack standing to bring
this cause of action and the demurrer was properly sustained on that basis.
               4. Human Subjects in Medical Experimentation Act
       The ninth cause of action alleges defendants violated the Protection of Human
Subjects in Medical Experimentation Act (Act), Health and Safety Code section 24170.
The Act, adopted in 1978, states that it was “the intent of the Legislature, in the enacting
of this chapter, to provide minimum statutory protection for the citizens of this state with
regard to human experimentation and to provide penalties for those who violate such
provisions.” (Health &amp; Saf. Code, § 24171, subd. (d).) It states that, “except as
otherwise provided in this section, no person shall be subjected to any medical
experiment unless the informed consent of such person is obtained.” (Health &amp; Safe.
Code, § 24175, subd. (a).)



                                             15
       “Medical experiment” is defined in the Act as: “(a) The severance or penetration
or damaging of tissues of a human subject or the use of a drug or device, as defined in
Section 109920 or 109925, electromagnetic radiation, heat or cold, or a biological
substance or organism, in or upon a human subject in the practice or research of medicine
in a manner not reasonably related to maintaining or improving the health of the subject
or otherwise directly benefiting the subject [¶] (b) The investigational use of a drug or
device as provided in Sections 111590 and 111595 [¶] (c) Withholding medical treatment
from a human subject for any purpose other than maintenance or improvement of the
health of the subject.” (Health &amp; Saf. Code, § 24174.)
       The Act also specifies who is liable for damages for violating its provisions,
including: “[a]ny person who is primarily responsible for conduct of a medical
experiment and who negligently allows the experiment to be conducted without a
subject’s informed consent, as provided in this chapter, shall be liable to the subject in an
amount not to exceed ten thousand dollars ($10,000), as determined by the court.”
(Health &amp; Saf. Code, § 24176, subd. (a).)
       The trial court held that plaintiffs failed to state a claim because (1) defendants did
not administer the vaccine, (2) there are no factual allegations showing that the vaccine
constitutes a “medical experiment,” and (3) there are no factual allegations establishing
coercion.
       Plaintiffs argue the trial court erred because (1) the statute is not limited to those
who physically administer a medical experiment, (2) the FAC does allege that the
vaccines constitute a medical experiment within the meaning of the Act, and (3) the FAC
repeatedly alleges coercion.
       In arguing the statute is not limited to those who physically administer a medical
experiment, plaintiffs contend that where they “can link [defendants] to the medical
experimentation plan, the Act may come into play. Indeed, Section 24172(j) of this Act
specifically covers the situation where there is an intervention of force, fraud, deceit,

                                              16
duress, coercion or undue influence on the subject’s decision, as is the case here, whereby
students, including [plaintiffs], were harassed, intimidated, threatened, and/or otherwise
coerced by agents of [the university] into submitting to participating in this medical
experiment in order to remain enrolled at [the university]. But for [the university’s]
mandate, [they argue, they] would not have submitted to an unwanted medical
experiment, [thereby] making [the university] the intervening force and the one primarily
responsible for students submitting to this medical experiment without informed
consent.”
       We find the argument unpersuasive. First, nothing in Health and Safety Code
section 24172(j) addresses the meaning of the phrase “primarily responsible for conduct
of a medical experiment” as used in section 24176, subdivision (a). Second, even if
plaintiffs were correct that “primarily responsible” is not limited to those who physically
administer a medical experiment—a proposition for which they cite no authority—they
have not identified any allegations in the FAC to support their contention that defendants
were primarily responsible here. The portions of the FAC they cite allege only that
defendants coerced students into taking the vaccines. Even accepting those allegations as
true, they do not establish that defendants were “primarily responsible for conduct of a
medical experiment.”
       Accordingly, plaintiffs failed to state a claim for violation of the Act and we need
not address the other arguments on this issue.
              5. Unruh Act and Bane Act
       The 10th cause of action alleges violations of the Unruh Act and Bane Act.
                 a. Unruh Act
       The purpose of the Unruh Act is to “create and preserve ‘a nondiscriminatory
environment in California business establishments by “banishing” or “eradicating”
arbitrary, invidious discrimination by such establishments.’ [Citations.] ‘The Act stands
as a bulwark protecting each person’s inherent right to “full and equal” access to “all

                                             17
business establishments.” [Citations.]’ ” (White v. Square, Inc. (2019) 7 Cal.5th 1019,
1025.)
         Civil Code section 51, subdivision (b), provides: “All persons within the
jurisdiction of this state are free and equal, and no matter what their sex, race, color,
religion, ancestry, national origin, disability, medical condition ... are entitled to the full
and equal accommodations, advantages, facilities, privileges, or services in all business
establishments of every kind whatsoever.” Civil Code section 52, subdivision (a),
provides: “Whoever denies, aids or incites a denial, or makes any discrimination or
distinction contrary to Section 51 ... is liable for each and every offense for the actual
damages, and any amount that may be determined by a jury ....”
         Despite this broad application, the Unruh Act “does not extend to practices and
policies that apply equally to all persons….” (Turner v. Association of American Medical
Colleges (2008) 167 Cal.App.4th 1401, 1408.) “A policy that is neutral on its face is not
actionable under the Unruh Act, even when it has a disproportionate impact on a
protected class. [Citations.]” (Ibid.)
         Plaintiffs argue that the university’s vaccine mandate is not neutral and instead
discriminates on the basis of religion, medical condition, and disability or perceived
disability. However, plaintiffs do not cite to any allegations in the FAC establishing that
the vaccine mandate is not facially neutral. They argue that Glenn and Kosinski were
discriminated against based on religion because their requests for exemptions were
denied, while university faculty were granted such requests. However, the FAC does not
allege that the challenged policy applies unequally to all students or discriminates based
on religion. It merely alleges that Glenn and Kosinski were denied requests for religious
exemptions, which is insufficient to state a claim under the Unruh Act.
         Similarly, plaintiffs argue they “were discriminated against on the basis of a
medical condition and/or genetic information because they were treated differently than
those students who agreed to submit to mRNA medical experimentation.” Again,

                                               18
though, the FAC does not allege that the vaccine mandate applied unequally; instead, it
alleges only that those who chose not to comply with it were disproportionately affected.
                  b. Bane Act
       The relevant section of the Bane Act provides: “If a person or persons, whether or
not acting under color of law, interferes by threat, intimidation, or coercion, or attempts
to interfere by threat, intimidation, or coercion, with the exercise or enjoyment by any
individual or individuals of rights secured by the Constitution or laws of the United
States, or of the rights secured by the Constitution or laws of this state, the Attorney
General, or any district attorney or city attorney may bring a civil action for injunctive
and other appropriate equitable relief in the name of the people of the State of California,
in order to protect the peaceable exercise or enjoyment of the right or rights secured.”
(Civil Code, § 52.1, subd. (b); Schmid v. City and County of San Francisco (60
Cal.App.5th 470, 482 (Schmid).) “Private parties may bring Bane Act claims under
subdivision (c) of the statute on the same grounds.” (Schmid, supra, at p. 482.)
       “ ‘ “The essence of a Bane Act claim is that the defendant, by the specified
improper means (i.e., ‘threats, intimidation or coercion’), tried to or did prevent the
plaintiff from doing something he or she had the right to do under the law or to force the
plaintiff to do something that he or she was not required to do under the law.” ’ ”
(Cornell v. City and County of San Francisco (2017) 17 Cal.App.5th 766, 791–792,
quoting Simmons v. Superior Court (2016) 7 Cal.App.5th 1113, 1125.)
       Speech alone is not sufficient to support an action under subdivision (b) of the
Bane Act, “except upon a showing that the speech itself threatens violence against a
specific person or group of persons; and the person or group of persons against whom the
threat is directed reasonably fears that, because of the speech, violence will be committed
against them or their property and that the person threatening violence had the apparent
ability to carry out the threat.” (Civil Code, § 52.1, subd. (k).) Thus, “[s]peech is
insufficient to establish the requisite threat unless it includes threat of violence.” (Julian

                                              19
v. Mission Community Hospital (2017) 11 Cal.App.5th 360, 395 (Julian) [“plaintiff must
show ‘the defendant interfered with or attempted to interfere with the plaintiff's legal
right by threatening or committing violent acts’ ”]; see also Center for Bio-Ethical
Reform, Inc. v. Irvine Co., LLC (2019) 37 Cal.App.5th 97, 115.)
       Moreover, conclusory allegations of forcible and coercive interference with a
plaintiff’s constitutional rights are insufficient to state a Bane Act cause of action. (Allen
v. City of Sacramento (2015) 234 Cal.App.4th 41, 69 (Allen), citing Aubry v. Tri-City
Hospital District (1992) 2 Cal.4th 962, 966–967.)
       Here, plaintiffs argue that the trial court erred by determining defendants to be
non-state actors and sustaining the demurrer as to the Bane Act claim on that basis.
According to plaintiffs, the trial court was required at the pleading stage to accept the
allegations of defendants’ state actor status as true. Plaintiffs also argued in the trial court
in opposition to the demurrer that it is immaterial for purposes of their Bane Act claim
whether defendants are state actors because the Act “applies to any person, whether
acting under color of law, whether defendant is a state or private actor.”
       Plaintiffs are correct that the Bane Act is not limited to defendants who are state
actors or who act under color of law. “Claims may be brought under Section 52.1,
subdivision (a), against rights-interfering conduct by private actors as well as by public
officials….” (Jones v. Kmart Corp. (1998) 17 Cal.4th 329, 338 (Jones).)
Notwithstanding that rule, certain rights can only be violated by a state actor, in which
case claims for violations of such rights by non-state actors could not be maintained.
(See, e.g., Jones, supra, at p. 334 [only the government can directly violate the Fourth
Amendment right against unreasonable search and seizure].)
       In any event, we need not address those issues here because, regardless of the
nature of the rights allegedly violated, or whether defendants were state actors, the FAC
did not adequately allege any actual threats of violence beyond mere speech. (Julian,
supra, 11 Cal.App.5th at p. 395.) Instead, it alleged, for instance, that the university’s

                                              20
vaccine mandate “coerces unwanted medical treatments and does not provide a viable
‘choice’ on whether to accept or refuse the unwanted medical treatments because students
are given the Hobbesian ‘choice’ of submitting to an invasion of their bodily autonomy or
losing their already commenced educations, housing, tuition, future careers, school
credits towards a particular degree, and all other benefits of being an SCU student.”
       These are the sort of conclusory allegations of forcible and coercive interference,
but with no allegations of actual threats of violence beyond mere speech, which are
insufficient to state a Bane Act cause of action. (Allen, supra, 234 Cal.App.4th at p. 69.)
Plaintiffs have not identified any allegations of actual threats of violence.
       Although the trial court did not base its ruling on this ground, our review is de
novo and “[a]n order sustaining a demurrer must be affirmed if it is correct on any ground
asserted in the demurrer, independent of the trial court’s stated reasons.” (Rossi v.
Sequoia Union Elementary School (2023) 94 Cal.App.5th 974, 985.) Moreover, although
the parties did not brief this issue on appeal, defendants argued in their demurrer that
plaintiffs’ allegations of forcible and coercive interference with their constitutional and
statutory rights were conclusory and therefore inadequate under the Act. Accordingly,
plaintiffs had an opportunity to address the issue.
              6. Contract-based claims
       In the 11th and 12th causes of action, Glenn and Kosinski allege breach of
contract and breach of the implied covenant of good faith and fair dealing. They contend
the contract between the parties consists of the student handbook for the 2021–2022
academic year and a document that appears to be entitled “2021–2022 Online
Agreements, Financial Terms and Conditions,” which they attached as exhibits to the
FAC.
       Glenn and Kosinski allege that the terms of those contracts did not require taking
any of the COVID-19 vaccines to attend the university. Defendants breached those
contracts, they allege, when they denied Glenn’s request for a medical exemption,

                                              21
threatened her with removal from campus and prohibition from enrolling in classes unless
she acquiesced to taking the vaccine, and continued to threaten her with disenrollment
from future semesters if she did not comply with future requirements under the vaccine
mandate, including any new boosters.
       With respect to Kosinski, the FAC alleges defendants breached the contracts by
disenrolling him from the university for not complying with the vaccine mandate,
refusing any exemption or accommodation, and preventing him from completing his
remaining credits at another institution.
       The trial court held that these claims fail because they do not allege any actionable
breach of contract. Specifically, the court noted that the alleged contract expressly
provides that the university may “ ‘modify its services or change its programs at any
time,’ ” which logically includes placing conditions on who may attend class based on
reasonable health and safety concerns and policies directed at ensuring the well-being of
the university community.
       The elements of a cause of action for breach of contract are: “(1) the existence of
the contract, (2) plaintiff’s performance or excuse for nonperformance, (3) defendant’s
breach, and (4) the resulting damages to the plaintiff.” (Oasis West Realty, LLC v.
Goldman (2011) 51 Cal.4th 811, 821.)
       “When reviewing whether a plaintiff has properly stated a cause of action for
breach of contract, we must determine whether the alleged agreement is ‘reasonably
susceptible’ to the meaning ascribed to it in the complaint. [Citation.] ‘ “So long as the
pleading does not place a clearly erroneous construction upon the provisions of the
contract, in passing upon the sufficiency of the complaint, we must accept as correct
plaintiff’s allegations as to the meaning of the agreement.” ’ ” (Klein v. Chevron U.S.A.,
Inc. (2012) 202 Cal.App.4th 1342, 1384–1385, quoting Aragon–Haas v. Family Security
Insurance Services, Inc. (1991) 231 Cal.App.3d 232, 239 (Aragon-Haas); citing Connell



                                            22
v. Zaid (1969) 268 Cal.App.2d 788, 795 [when considering a complaint challenged by
demurrer, plaintiff’s construction of a contract should be accepted, if reasonable].)
       “Whether a contract is ambiguous is a question of law.” (Aragon-Haas, supra,231 Cal.App.3d at p. 239, citing Hillman v. Leland E. Burns, Inc. (1989) 209 Cal.App.3d
860, 866.)
       Plaintiffs argue here that the trial court erred by “improperly resolving the
ambiguous terms ‘services’ and ‘programs’ in [defendants’] favor,” disregarding
plaintiffs’ own interpretation of those terms, and not allowing plaintiffs the opportunity to
present any extrinsic evidence.
       However, as defendants argue on appeal, plaintiffs did not adequately allege that
the contract prevented the university from implementing the vaccine mandate. Instead,
they alleged only that because the contract did not expressly identify and authorize
COVID-19 vaccine mandates, their imposition necessarily constituted breach: “[n]one of
the terms of the initial contracts entered into by plaintiffs for the 2021–2022 school year
required taking any of the [vaccines] in order to attend [the university].”
       Plaintiffs reference the “Communicable Diseases Policy” of the 2021–2022
Student Handbook—which plaintiffs label “immunization requirements”—and allege that
the policy “did not include a requirement for students to be immunized against [COVID-
19] to attend [the university], and therefore this requirement did not form part of any
contract.” However, they do not identify any specific terms within the policy which
defendants allegedly breached, nor offer any interpretation of the terms.
       More is required to state a valid claim for breach of contract. It is true that if a
contract set out in the complaint or attached as an exhibit is ambiguous, the plaintiff’s
interpretation must be accepted as correct in testing the sufficiency of the complaint.
(Aragon-Haas, supra, 231 Cal.App.3d at p. 239.) However, even where a contract is
ambiguous, “ ‘it is proper, if not essential, for a plaintiff to allege its own construction of
the agreement.’ ” (Ibid.) Plaintiffs have not alleged or offered any meaning or

                                              23
interpretation to which the agreement is reasonably susceptible. “Facts alleging a breach,
like all essential elements of a breach of contract cause of action, must be pleaded with
specificity.” (Levy v. State Farm Mutual Auto Insurance Co. (2007) 150 Cal.App.4th 1,
5–6, citing Bentley v. Mountain (1942) 51 Cal.App.2d 95, 98 [general averments that
defendants violated contract insufficient; pleader must allege facts demonstrating
breach].)
       The 11th and 12th causes of action fail to state claims for relief.
              7. Negligence
       The 13th cause of action alleges that defendants breached a duty of care owed to
Glenn and Kosinski by failing to evaluate the safety of the vaccine mandate it
implemented, failing to undertake any data analysis of whether its policy was reasonable,
coercing and creating duress, and refusing religious and medical exemption requests until
the lawsuit commenced.
       The trial court held the FAC failed to adequately plead a breach of duty, and that
its “vague allegations regarding the purported unreasonableness of the [mandate] are
insufficient to establish the requisite breach.” In addition, the trial court held that the
FAC essentially pleaded the opposite by alleging that the university adhered to leading
public health guidance regarding the need for COVID-19 vaccination in higher education.
       Plaintiffs argue that the FAC set forth specific allegations regarding how
defendants acted unreasonably, by: (1) failing to evaluate the safety of the vaccine
policy; (2) failing to undertake any data analysis of whether the policy was reasonable;
(3) coercing and creating duress for students; (4) repeatedly refusing religious and
medical exemptions; (5) failing to honor the right to refuse experimental products as
required by federal law; (6) coercing and improperly influencing plaintiffs to submit to
human medical experiments without informed consent; and (7) preventing students like
Kosinski from completing their remaining units elsewhere.



                                              24
       Further, they argue, the trial court’s conclusion that defendants reasonably relied
on “leading public health guidance” was “an improper ideological determination on the
merits -- and ignores the numerous allegations in the FAC that even the ‘leading’ public
health authorities knew at the time [the university] imposed its Mandate, including the
additional Spring 2022 booster doses, that the Products were experimental, ineffective,
based on shoddy political science, and harmful.”
       Notwithstanding plaintiffs’ characterization of the FAC, the negligence cause of
action ultimately alleges that defendants breached their duty of care to Glenn and
Kosinski by implementing the vaccine mandate. However, as the trial court noted,
plaintiffs also allege that, in doing so, defendants were following the guidance of the
Centers for Disease Control (CDC), as well as State and Santa Clara County public health
officials. Courts have long held that deferring to or following public health guidance on
vaccinations is reasonable. “ ‘What is for the public good, and what are public purposes,
and what does properly constitute a public burden, are questions which the legislature
must decide upon its own judgment….” (Abeel v. Clark (1890) 84 Cal. 226, 231
[denying mandamus to compel public school to admit non-vaccinated student]; see also,
Roman Catholic Diocese v. Cuomo (2020) 592 U.S. 14, 18 [“Stemming the spread of
COVID–19 is unquestionably a compelling interest.”].)
       Plaintiffs have not alleged any actual facts which, even if accepted as true, would
establish that following CDC guidance in the midst of a global pandemic was
unreasonable and therefore a breach of duty.
       Plaintiffs’ allegation that defendants breached a duty of care by preventing
Kosinski and other students from completing their studies elsewhere also fails to state a
claim for relief. The FAC alleges that the university denied Kosinski’s request to have
credits completed at a different university count towards his degree. However, it does not
allege how or why that constituted a breach of any duty. To the extent plaintiffs mean to
allege that the university’s policy or decision was based on or motivated by its desire to

                                            25
implement its vaccine mandate, the FAC does not allege as much. On the contrary, its
allegation that the university denied Kosinski’s request to complete his credits elsewhere
was supported by an exhibit depicting e-mail exchanges between Kosinski and a
professor at the university. However, the actual e-mails do not include anything showing
that the university denied the request based on its vaccine policy. Nor do the e-mails
show that the university changed any policy regarding allowing credits at other
institutions to count toward university degrees—on the contrary, the professor with
whom Kosinski was e-mailing stated only that an associate dean was making the
“ ‘no- xfer units once you start the program’ an explicitly written policy.”
              8. Intentional infliction of emotional distress
       The 14th cause of action alleges that defendants intentionally inflicted emotional
distress on Glenn and Kosinski by implementing the vaccine mandate and intentionally
interfering with the private doctor-patient relationship between Glenn and her treating
physicians.
       To state a cause of action for intentional infliction of emotional distress, a plaintiff
must show: “(1) outrageous conduct by the defendant; (2) the defendant’s intention of
causing or reckless disregard of the probability of causing emotional distress; (3) the
plaintiff’s suffering severe or extreme emotional distress; and (4) actual and proximate
causation of the emotional distress by the defendant’s outrageous conduct.” (Gabrielle A.
v. County of Orange (2017) 10 Cal.App.5th 1268, 1289, quoting Huntingdon Life
Sciences, Inc. v. Stop Huntingdon Animal Cruelty USA, Inc. (2005) 129 Cal.App.4th
1228, 1259.) “Outrageous conduct is conduct which exceeds the bounds of that usually
tolerated in civilized society and must be directed at the plaintiff or occur in the
plaintiff’s presence.” (Christensen v. Superior Court (1991) 54 Cal.3d 868, 903.)
“Whether conduct is outrageous is usually a question of fact.” (Ragland v. U.S. Bank
National Assn. (2012) 209 Cal.App.4th 182, 204.)



                                              26
       The trial court determined that plaintiffs’ allegations failed to state a claim because
implementing and enforcing a vaccine mandate recommended by leading public health
authorities and attempting to ascertain the basis of Glenn and Kosinski’s medical
exemption requests are not acts that are “so extreme as to exceed all bounds of that
usually tolerated in a civilized community.” In other words, although it is usually a
question of fact whether conduct is outrageous, the trial court determined that, as a matter
of law, the alleged conduct here was not outrageous.
       Exercising our independent review, we reach the same conclusion. As with
plaintiffs’ negligence cause of action, the alleged outrageous conduct here consists of
taking steps to implement the vaccine mandate based on guidance from local, state and
federal public health officials in the midst of a global pandemic. While plaintiffs may
object to that conduct, it is not “outrageous” within the meaning of a claim for intentional
infliction of emotional distress.
              9. Tortious interference with contractual relationship
       In the 15th cause of action, Glenn alleges that Osofsky intentionally interfered
with her private contractual relationships with her doctors by intervening in the doctors’
determinations that the COVID-19 vaccines were dangerous for Glenn.
       The trial court held that Glenn had failed to plead how the alleged contracts were
breached by Osofsky’s conduct. Because an essential element of a cause of action for
interference with contractual relations is an actual breach or disruption of the contractual
relationship, the court held, the cause of action fails.
       “To prevail on a cause of action for intentional interference with contractual
relations, a plaintiff must plead and prove (1) the existence of a valid contract between
the plaintiff and a third party; (2) the defendant’s knowledge of that contract; (3) the
defendant’s intentional acts designed to induce a breach or disruption of the contractual
relationship; (4) actual breach or disruption of the contractual relationship; and (5)
resulting damage.” (Reeves v. Hanlon (2004) 33 Cal.4th 1140, 1148.)

                                              27
         Plaintiffs argue on appeal that the underlying breach of contract was Glenn’s
doctors’ retraction of their treatment recommendations on the basis of Osofsky’s
interference. However, no such allegations appear in the FAC, nor does it otherwise
identify any specific terms or provisions of a contract that were allegedly breached.
Because an underlying breach is an essential element of a claim for interference with a
contractual relationship, the cause of action fails.
                10. Conspiracy to induce breach of contract
         In the 16th cause of action, Glenn and Kosinski allege that the defendants
conspired to intervene in their private contractual relationships with their doctors. This
cause of action fails for the same reasons as the 15th cause of action for interference with
contractual relationship. That is, it requires the allegation of an actual underlying breach
of contract, which is absent from the FAC.
                11. Leave to amend
         As set forth above, when a demurrer is sustained without leave to amend, we
decide whether there is a reasonable possibility that the defect can be cured by
amendment. (Blank, supra, 39 Cal.3d at p. 318.) However, the burden still remains on
the plaintiff to show that reasonable possibility. (Schifando, supra, 31 Cal.4th at p.
1081.)
         That burden requires that plaintiffs specifically show what facts they could plead
to state valid causes of action if allowed the opportunity to amend. (Cantu v. Resolution
Trust Corp. (1992) 4 Cal.App.4th 857, 890 (Cantu), citing Blank, supra, 39 Cal.3d at p.
318.) To meet that burden on appeal, plaintiffs must “enumerate the facts and
demonstrate how those facts establish a cause of action.” (Cantu, supra, at p. 890, citing
Trustees of Capital Wholesale Electric etc. Fund v. Shearson Lehman Brothers, Inc.
(1990) 221 Cal.App.3d 617, 622, 626–627; McMartin v. Children’s Institute
International (1989) 212 Cal.App.3d 1393, 1408.) “Absent such a showing, the appellate



                                              28
court cannot assess whether or not the trial court abused its discretion by denying leave to
amend.” (Cantu, supra, at p. 890.)
       Plaintiffs have failed to carry this burden here. In their opening brief on appeal,
they only sporadically argue that certain causes of action could be amended to add more
facts. For instance, with respect to the 14th cause of action for intentional infliction of
emotional distress, plaintiffs argue that they “could have easily amended their FAC to
address any alleged defect in pleading but were given no opportunity to do so by the
court below. For example, specific additional facts regarding plaintiffs’ distress and the
effect the activities of SCU and its agents had on them could be alleged. Facts regarding
standard policies for on campus physicians interacting with students and their doctors
could also be alleged to show departure from the standard of care.” However, plaintiffs
fail to specify what those facts are—instead, they merely assert that they would allege
them, if given the opportunity.
       Similarly, with respect to the 15th and 16th causes of action for interference with
contract and conspiracy to induce breach of contract, plaintiffs argue that any “deficiency
could have been easily cured by amendment. For example, more facts regarding the
doctor patient relationship could have been asserted, and further information regarding
the conversations Osofsky had with Glenn’s doctors, and how he persuaded them to
retract their recommendations, could also be alleged.” Again, though, plaintiffs were
required to enumerate such facts rather than simply provide the promise of “more facts”
and “further information.”
       Although plaintiffs offered additional facts in their reply brief, particularly with
respect to CHD-CA’s standing, we decline to consider those arguments. “ ‘Obvious
considerations of fairness in argument demand that the appellant present all of [its] points
in the opening brief. To withhold a point until the closing brief would deprive the
respondent of [its] opportunity to answer it or require the effort and delay of an additional
brief by permission. Hence the rule is that points raised in the reply brief for the first time

                                              29
will not be considered, unless good reason is shown for failure to present them before.”
[Citations.]’ ” (Neighbours v. Buzz Oates Enterprises (1990) 217 Cal.App.3d 325, 335,
fn. 8, quoting 9 Witkin, Cal. Procedure (3d ed. 1985) § 496, p. 484; see also Reid v. City
of San Diego (2018) 24 Cal.App.5th 343, 369 [“In the reply brief, Plaintiffs contend the
trial court abused its discretion in not granting leave to amend. However, Plaintiffs did
not make this argument in their opening brief and, therefore, the issue is forfeited.”]
       In addition, with respect to CHD-CA’s associational standing, plaintiffs had an
opportunity to amend in the trial court, but failed to do so. In the demurrer to the initial
complaint, defendants argued that plaintiffs had not sufficiently alleged associational
standing for CHD-CA because they had not identified specific members with
standing. Plaintiffs’ response to the demurrer was to file the FAC, which did not include
any additional allegations on that issue. Generally, “when, following a demurrer, a
plaintiff who is afforded leave elects not to amend a complaint, we presume the
complaint states as strong a case as the plaintiff can muster.” (Piccinini v. California
Emergency Mgmt. Agency (2014) 226 Cal.App.4th 685, 688.)5
       Plaintiffs have failed to carry their burden of demonstrating a reasonable
possibility of amending their causes of action to state valid claims. Accordingly, we
conclude the trial court did not abuse its discretion sustaining the demurrer without leave
to amend.6




       5
         At oral argument, counsel for both parties conceded that the university had
recently rescinded the challenged vaccine policies. Although that fact is not in the
record, as a practical matter, it would appear to preclude any reasonable possibility the
defect could be cured by amendment. (Blank, supra, 39 Cal.3d at p. 318.)
       6
         Because we affirm the judgment as described herein, we decline defendants’
request for judicial notice as unnecessary to our resolution of the appeal. (Jordache
Enterprises, Inc. v. Brobeck, Phleger &amp; Harrison (1998) 18 Cal.4th 739, 755, fn. 6.) We
also decline to consider any arguments in defendants’ brief which rely on the materials
sought to be judicially noticed, or on any other evidence not included in the record.

                                             30
                             III.   DISPOSITION
The judgment is affirmed. Defendants shall recover their costs on appeal.




                                    31
                                   ___________________________________
                                                    Wilson, J.




I CONCUR:




__________________________________________
                 Greenwood, P. J.




Glenn et al. v. The President and Trustees of Santa Clara College et al.
H050735
Lie, J., Concurring:
       I join the court’s conclusion that the demurrer to the first amended complaint was
properly sustained without leave to amend. Although I agree with much of the majority’s
cogent analysis, I read differently than my colleagues the trial court’s rationale for
denying plaintiff Children’s Health Defense - California Chapter (CHD-CA) leave to
amend. In my view, the trial court based its exercise of discretion as to CHD-CA on the
futility of amendment on the merits of its claims, not on any failure by CHD-CA to show
it could plead facts sufficient to establish associational standing to bring those claims.7
So rather than rely on an appellate forfeiture theory (see maj. opn., ante, at pp. 28–29), I
would affirmatively hold that the trial court did not abuse its discretion. On appeal as in
the trial court, CHD-CA has demonstrated its inability to adequately plead (1) state action
to support its claims under Title 42, United States Code section 1983, the U.S.
Constitution, and Article I, Sections 4 and 7 of the California Constitution;
(2) unconstitutional invasion of a fundamental privacy right to support its claims under
Article I, Section 1 of the California Constitution; and (3) a private right of action under
the Federal Food, Drug, and Cosmetic Act (21 U.S.C. § 360bbb-3(e)(1)(A)(ii)).
       As to its claims under Title 42, United States Code section 1983, the United States
Constitution, and Article I, Sections 4 and 7 of the California Constitution (the first
through fifth and seventh causes of action), CHD-CA offers to amend its constitutional
causes of action. Just not with facts that, if true, would support treating defendants as
state actors. It is well established that on a demurrer we treat as admitted only “material
facts properly pleaded” but not “contentions, deductions, or conclusions.” (Evans v. City


       7
         With respect, I also construe differently than my colleagues both what CHD-CA
represented to the trial court it could allege on associational standing and the policy of
“great liberality” with which amendment may be permitted. (Compare Aubry v. Tri-City
Hospital Dist. (1992) 2 Cal.4th 962, 970–971 with Reid v. City of San Diego (2018)
24 Cal.App.5th 343, 369; see maj. opn., ante, at pp. 29–30.)
of Berkeley (2006) 38 Cal.4th 1, 6.) CHD-CA’s inability to articulate a factual foundation
for its conclusory allegations of “collusion” between a “secretive” university committee
intent on furthering a “government ‘vaccination’ agenda” supported the trial court’s
determination that CHD-CA’s inability to plead state action was irremediable. (Cf.
Manhattan Community Access Corp. v. Halleck (2019) 587 U.S. 802, 809 [“a private
entity can qualify as a state actor in a few limited circumstances—including, for example,
(i) when the private entity performs a traditional, exclusive, public function, [citation];
(ii) when the government compels the private entity to take a particular action, [citation];
or (iii) when the government acts jointly with the private entity, [citation]”]; see also
Ciraci v. J.M. Smucker Co. (6th Cir. 2023) 62 F.4th 278, 284 [holding that federal
contractor enforcing vaccine mandate required by government was not a state actor];
Children’s Health DEF. v. Meta Platforms, Inc. (9th Cir. Aug. 9, 2024, No. 21-16210)
___ F.4th ___ (2024 WL 3734422, pp. *16, 13–14) [holding that “generalized federal
concerns about vaccine misinformation” did not render Facebook’s restriction on
plaintiff’s anti-vaccination messaging state action].)
       As to its sixth cause of action, CHD-CA insists that conditioning enrollment at a
private university on compliance with a vaccine mandate is sufficient to state a claim for
invasion of its members’ privacy rights under Article I, section 1 of the California
Constitution. But as a matter of law CHD-CA can establish neither a reasonable
expectation of privacy in avoiding a private institution’s pandemic-related conditions of
enrollment nor a serious invasion of its members’ privacy interests. (See generally Hill v.
National Collegiate Athletic Assn. (1994) 7 Cal.4th 1, 35–37 [requiring “a specific,
legally protected privacy interest,” a plaintiff’s “reasonable expectation of privacy,” and a
“serious invasion” of that privacy interest].) Although I take no issue with CHD-CA’s
assertion of a legally protected privacy interest, I reject its false equivalency between
voluntarily unvaccinated students’ interest in compelling a private university to educate
them without evaluating their claims for medical exemption from school policy, on the
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one hand, and pregnant minors’ interest in choosing whether to abort or carry to term an
unwanted pregnancy (see American Academy of Pediatrics v. Lungren (1997) 16 Cal.4th
307, 327) or even imprisoned defendants’ interest in preventing the state’s use of their
psychiatric records to secure their civil commitment (People v. Martinez (2001)
88 Cal.App.4th 465 [finding no serious privacy violation]). The California Supreme
Court has long recognized that “the opportunity to consent or refuse” diminishes the
reasonable expectation of privacy, and that disqualification from participation “does not
render . . . consent . . . involuntary in any meaningful legal sense.” (Hill, at p. 42.)
“Participation in any organized activity carried on by a private, nongovernment
organization necessarily entails a willingness to forgo assertion of individual rights one
might otherwise have in order to receive the benefits of communal association.” (Id. at
p. 43.)
          As to its eighth cause of action, asserting a private right of action under the
Federal Food, Drug, and Cosmetic Act, CHD-CA can supply no basis to gainsay the
expressly contrary direction of Congress. (21 U.S.C. § 337(a) [providing that except for
enumerated enforcement actions permitted to the states, “all . . . proceedings for the
enforcement, or to restrain violations, of [the Act] shall be by and in the name of the
United States”]; see also Fiedler v. Clark (9th Cir. 1983) 714 F.2d 77, 79.)
          For these reasons, I agree with the trial court that amendment would appear to be
futile on the merits, and I would therefore conclude that the trial court did not abuse its
discretion in denying CHD-CA leave to amend.




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                                                 _____________________________________
                                                 LIE, J.




Glenn et al. v. The President and Trustees of Santa Clara College et al.
H050735
